          Case 3:13-cr-03481-BTM                        Document 440              Filed 10/15/14               PageID.1851            Page 1 of 5
    "MO 245B (CASD) (Rev. 4/14)    Judgment in a Criminal Case
                Sheet I




                                                  SOUTHERN DISTRICT OF CALIFORN
                     UNITED STATES OF AMERICA
                                        v.                                         (For Offenses Committed On or After November I, I

                          FARBOB GOLHASSANI [8]                                    Case Number: 13CR3481-BTM
                                                                                   DAVID SILLDORF
                                                                                   Defendant's Attorney
    REGISTRATION NO. 40903298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s)_I_O_F_T_HE_INDIC_TM_E_N_T
                                              __           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
    Title & Section                          Nature of Offense                                                                             Number(s)
18 USC 1349                           CONSPIRACY TO COMMIT BANK FRAUD                                                                              I




        The defendant is sentenced as provided in pages 2 through      5    of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 o   Count(s)                                                                       is DareD dismissed on the motion of the United States.

 181 Assessment: $100 to be paid within the first (1st) year ofSupervised Release.


 181 Fine waived                                    D    Forfeiture pursuant to order filed                                    , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               AUGUST 27, 2014
                                                                              Date of Imposition of Sentence




                                                                              ~~~
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                               13CR3481-BTM
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AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
            Sheet 2 -   Imprisonment

                                                                                                  Judgment -    Page    2     of        5
 DEFENDANT: FARBOB GOLHASSANI [8]
 CASE NUMBER: 13CR3481-BTM
                                                         IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         SIXTEEN (16) MONTHS.




    D Sentence imposed pursuant to Title 8 USC Section 1326(b).                                                 MOSKOWITZ
    D The court makes the following recommendations to the Bureau of Prisons:                                  ATES DISTRICT JUDGE




    D The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
         Oat                              Da.m. Dp·m. on _ _ _ _ _ _ _ _ _ _ __
                as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before
                   ---------------------------------------------------------------------------
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at ____________________________ , with a certified copy ofthis judgment.


                                                                                               UNITED STATES MARSHAL

                                                                    By
                                                                         ------------~D~E~P~U~T~Y~UN~ITE~.D~ST~A~T~E~.S~M~A~R~S~H-A~L-------------




                                                                                                                             13CR3481-BTM
         Case 3:13-cr-03481-BTM                     Document 440              Filed 10/15/14            PageID.1853             Page 3 of 5
AO 2458 (CASD) (Rev.4/14) Judgment in a Criminal Case
              Sheet 3 -- Supervised Release
                                                                                                               Judgment-Page        3      of        5
DEFENDANT: FARBOB GOLHASSANI (8]                                                                       D
CASE NUMBER: 13CR3481-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J 3, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
1&1 The
    Backlog Elimination Act of2000 Pursuant to 18 USC sections 3563(a)(7) and 3583(d).
                                          L
        The defendant shall comply with tfie requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
D       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifYing offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         ST ANDARD CONDITIONS OF SUPERVISION

  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;

  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  II)     the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                                        13CR3481-BTM
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       AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                         Judgment-Page _ _4_ of _---'5"-_ _
       DEFENDANT: FARBOB GOLHASSANI [8]                                                           II
       CASE NUMBER: 13CR348t-BTM



                                             SPECIAL CONDITIONS OF SUPERVISION
IV! Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o   Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
~ Not reenter the United States illegally.
~ Not enter the Republic of Mexico without written permission ofthe Court or probation officer.
[8J Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
~ Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o

~ Make restitution to the Bank ofAmerica in the amount of $43,557.06, to be paid in installments of $200 per month.

o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
~ Be prohibited from opening banking or credit card accounts or incurring new credit charges or opening additional lines of credit without
  approval ofthe probation officer in writing.
o   Seek and maintain full time employment and/or schooling or a combination of both.
~   Resolve all outstanding warrants within         90    days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
~ If deported, excluded. or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
  States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions ofsupervision are
  suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.

~ The defendant shall notify the Collections Unit, Untied States Attorney's Office, of any interest in property obtained. directly or indirectly,
  valued at $1000 or more including any interest obtained under any other name, or entity, including a trust, partnership, or corporation until
  restitution is paid in full. Additionally the defendant shall notify the Collections Unit, Untied States Attorney's Office, before he transfers
  any interest in property valued at $1000 or more owned directly or indirectly, including and interest held or owned under any other name, or
  entity, including a trust, partnership, or corporations.




                                                                                                                                  13CR3481-BTM
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AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

  DEFENDANT:            FARBOB GOLHASSANI [8]                                               Judgment - Page 5 of 5
  CASE NUMBER:          13CR3481-BTM

                                           RESTITUTION


 The defendant shall pay restitution in the amount of $43,557.06             unto the United States of America.
 For the benefit of the Bank of America through the Clerk of Court




 This sum shall be due immediately. And shall be paid as follows: In installments of $200 per month.




 The Court has determined that the defendant    does not    have the ability to pay interest. It is ordered that:
      The interest requirement is waived




                                                                                                      13CR3481-BTM
